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                             CERTIFICATE OF SERVICE

        I, Donna Elizabeth Tanner, Assistant Attorney General, do hereby certify that on this date
a copy of the foregoing Affidavit was filed utilizing the CM/ECF system and notice was provided
to any parties receiving notice therein.

     I hereby certify that I have on this day, mailed said document to the following non-
CM/ECF participant:

               Robert S. Chamberlain
               9140 McFarland Rd.
               Laurel Hill, NC 28351

       This the 28th day of September, 2015.

                                                    /s/ Donna E. Tanner
                                                    Donna E. Tanner
                                                    Assistant Attorney General




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